      Case 3:12-cv-02625-AET-DEA Document 95 Filed 12/29/16 Page 1 of 2 PageID: 3521
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                                                                        AT 8:30
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                                                                             LUAM T. WALSH
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            ESTATE OF TARA O'LEARY,· deceased,         SUPERIOR COURT OF NEW JERSEY
            by EIL.EEN DEVLIN and MAUREEN             .LAW DIVISION MERCER COUNTY
            BALLANO-APPANEAL, co-Admin~·stratrix
            ad Prosequendum o:f the Estate of ·       Civil Action No.:3:12-CV-02625
            Tary O'Leary;' ESTATE OF LYDIA JOY
            PERRY, deceased, by Vivian Kale and
            Janet Fandel; Co-A.dministratrix ad                   CIVI'L ACTION
            Prosequendum of the Estate of Lydia
            Joy .Perry

                       Plaintiffs,
                 v.                                      STIPULATION OF DISMISSAL WITH
                                                                   .PREJUDIC;E
        DEBRA SLOAN, individually and as
      - agent, serv~nt, and/or employee of
       _the- State of De.fen.dan~s and/o:r the
        ARC of Hunterdon County; STATE OF
        NEW JERSEY; DEPARTMENT-0~ HUMAN
        SERVIC.ES-DIVID!ON OF_ DEVELOPMENTAL
        DISABILITIES. et aL

                        Def·endarits. ·-




                This   mat~er     having been amicably adjusted by ·and between the pa:rt!es,

        it is hereby stipulated and .agr.eed that Plaintiff's complaint is voluntarily
Case 3:12-cv-02625-AET-DEA Document 95 Filed 12/29/16 Page 2 of 2 PageID: 3522
)    .




             dismisseQ. ·against the St.ate of New Jersey and the Department   of   Humal\

    services and its employees, with prejudice and without costs.

         JAVERBAUMj . WURGAFT I HICKS·,      ROBERT LOUGY
         KARN, WIKSTROM & S!NINS             ACTING ATTORNEY GENERAL OF NEW JERSEY
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     Er~squiie          ~·       _By1        ~~_...-
                                          ;......-av1n A. Terhune     ·.
     Attorney for Plaintiff                   . Deputy Attorney General



    DATED:




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